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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

   RICHARD CADENASSO, individually                   )
   and as the representatives of a class of          )
   similarly-situated persons,                       )
                                                     )
                                  Plaintiff,         )   Civil Action No.: 14-80519-CV-
                                                     )   MIDDLEBROOKS/BRANNON
                  v.                                 )
                                                     )
   METROPOLITAN LIFE INSURANCE                       )
   COMPANY, STORICK GROUP CO.,                       )
   THE STORICK GROUP                                 )
   CORPORATION, SCOTT R. STORICK                     )
   and JOHN DOES 1-10,                               )
                                                     )
                       Defendants.                   )


                              JOINT STIPULATION OF DISMISSAL


          Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii), Plaintiff, RICHARD CADENASSO, and

   Defendants, METROPOLITAN LIFE INSURANCE COMPANY, STORICK GROUP CO.,

   THE STORICK GROUP CORPORATION, and SCOTT R. STORICK, through their

   undersigned attorneys, hereby stipulate to the dismissal of this action without prejudice. Each

   party to bear its own costs and attorney’s fees.

                                               Submitted and approved by:

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on July 7, 2014, I electronically filed the foregoing with the Clerk
   of the Court using the CM/ECF system which will send notification of such filing to all
   attorneys of record.

                                                        s/ Ryan M. Kelly
